Case 1:04-cv-00733-RHB          ECF No. 25, PageID.335         Filed 04/22/05     Page 1 of 6




                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION




SYLVIA STOLICKER,

              Plaintiff,
                                                           File No. 1:04-CV-733
v.
                                                           HON. ROBERT HOLMES BELL
MULLER, MULLER, RICHMOND,
HARM S, MYERS, and SGROI, P.C.,

              Defendant.
                                              /

                                        OPINION

       This matter arises out of the debt collection practices of Defendant M uller, Muller,

Richmond, Harms, Myers, and Sgroi, P.C. (the "Muller law firm" or "Muller"). Plaintiff

Sylvia Stolicker brings this action as a class action. Stolicker alleges that the Muller law

firm’s practice of filing an application for default judgment in state court that includes an

affidavit stating that the damages include a liquidated attorney fee violates both the Fair Debt

Collection Practices Act (FDCPA), 15 U.S.C. § 1692a, and the Michigan Collections

Practices Act (MCPA), M.C.L. § 445.257. Before the Court are three motions by the Muller

law firm: 1) dismiss for lack of subject matter jurisdiction, 2) dismiss the FDCPA claims for

failure to state a claim or on summary judgment, 3) dismiss the MCPA claims for failure to

state a claim or on summary judgment. For the reasons set forth below, the Court will deny
Case 1:04-cv-00733-RHB         ECF No. 25, PageID.336         Filed 04/22/05    Page 2 of 6




the Muller law firm’s motions to dismiss for lack of subject matter jurisdiction and failure

to state a claim.

                                              I.

       A motion pursuant to FED. R. C IV. P. 12(b)(6) tests whether a complaint "state[s] a

claim upon which relief can be granted." FED. R. C IV. P. 12(b)(6). This standard requires

that "a 'complaint must contain either direct or inferential allegations respecting all the

material elements to sustain a recovery under some viable legal theory.'" Varljen v.

Cleveland Gear Co., Inc., 250 F.3d 426, 429 (6th Cir. 2001) (quoting Glassner v. R.J.

Reynolds Tobacco Co., 223 F.3d 343, 346 (6th Cir. 2000)). In reviewing a complaint, the

Court must "view the complaint in the light most favorable to the plaintiff, treat all

well-pleaded allegations therein as true." Amini v. Oberlin Coll., 259 F.3d 493, 497 (6th Cir.

2001). Finally, the motion will be granted if "the plaintiff 'can prove no set of facts in

support of the claims that would entitle him to relief.'" Id. (quoting Gregory v. Shelby

County, Tenn., 220 F.3d 433, 446 (6th Cir. 2000).

       Stolicker alleges that she incurred debt and became obligated to pay money to Capital

One Bank in transactions made primarily for personal, family or household purposes.

Compl. ¶ 9. The contract she signed contains a provision stating that if the credit card

company was required to hire an outside agency to collect a debt, the debtor would be liable

for a “reasonable attorney fee.” On or about July 7, 2003, the Muller law firm filed a

summons and complaint on behalf of Capital One in the 63rd District Court for the State of



                                              2
Case 1:04-cv-00733-RHB          ECF No. 25, PageID.337         Filed 04/22/05     Page 3 of 6




Michigan, seeking to collect $3,985.25 in damages, costs and attorney fees from Stolicker.

Compl. ¶ 10. This amount included $776.68 as attorney fees (25% of the principal debt).

Compl. ¶ 11, 14. Stolicker failed to respond to the complaint and the Muller law firm applied

for a default judgment and submitted an affidavit stating that the amount due included

$3,985.25 (including the $776.68 attorney fee) in damages, interest of $327.93, $70.25 in

costs, and $75 statutory attorney fees. Compl. ¶ 12, 19. The affidavit stated that “the claim

against the defaulted party is for a sum certain or for a sum which by computation can be

made certain . . . .” Compl. ¶ 13. Stolicker asserts that the affidavit was false and misleading

because a “reasonable attorney fee” under the credit card contract is not “for a sum certain

or for a sum which by computation can be made certain.” Compl. ¶ 16. A default judgment

was entered in the state court but was later set aside. Compl. ¶ 20. At oral argument

Muller’s counsel informed the Court that judgment has since been entered against Stolicker

in the state court. While the state court action was still pending, Stolicker filed the present

class action before the Court asserting violations of the FDCPA and the MCPA.

       The Muller law firm contends that this Court is barred from asserting subject matter

jurisdiction based upon the Rooker-Feldman doctrine which establishes that “lower federal

courts lack subject matter jurisdiction to engage in appellate review of state court

proceedings.” Pieper v. American Arbitration Assoc., Inc., 336 F.3d 458, 460 (6th Cir.

2003). Recently, the Supreme Court revisited this doctrine, explaining that it was limited to

cases where, “the losing party in state court filed suit in federal court after the state



                                               3
Case 1:04-cv-00733-RHB          ECF No. 25, PageID.338          Filed 04/22/05     Page 4 of 6




proceedings ended, complaining of an injury caused by the state court judgment and seeking

review and rejection of that judgment.” Exxon Mobil Corp. v. Saudi Basic Indus. Corp., 544

U.S. ____, 125 S.Ct. 1517, 1526 (Mar. 30, 2005).

       Rooker-Feldman does not bar the Court from taking subject matter jurisdiction of this

case for the simple reason that this case does not involve the losing party in a state court

proceeding filing suit in federal court after the state proceedings ended and complaining of

an injury caused by a state court judgment. Id. The gravamen of Stolicker’s complaint is that

the Muller law firm violated the FDCPA by filing a purportedly false affidavit in support of

a debt collection in state court. See Compl. 12, 16, 34. This alleged injury was independent

of and complete prior to the state court taking any action. As such, Rooker-Feldman does

not prevent this Court from asserting subject matter jurisdiction over this case. See Long v.

Shorebank Dev. Corp., 182 F.3d 548 (7th Cir. 1999) (holding that Rooker-Feldman did not

bar a federal court from asserting subject matter jurisdiction where plaintiff alleged violations

of the FDCPA that occurred during but were independent of a state eviction proceeding); see

also Todd v. Weltman, Weinberg & Reis, Co., 348 F. Supp.2d 903 (S.D. Ohio 2004) (holding

that Rooker-Feldman did not apply where plaintiff asserted a class action suit alleging

defendant violated the FDCPA by filing false affidavits in support of state court garnishment

proceedings. “[T]he sole action forming the basis of Plaintiffs’ FDCPA claims, the filing of

a false affidavit, was complete before the state court took any action.”). Accordingly,

Rooker-Feldman does not deprive the Court of subject matter jurisdiction in this case.



                                               4
Case 1:04-cv-00733-RHB          ECF No. 25, PageID.339          Filed 04/22/05     Page 5 of 6




       In addition, at oral argument Muller’s counsel argued that because the state court has

proceeded to judgment on the credit card debt and has determined that the damages include

attorney’s fees, this action is a collateral attack and is barred by the state judgment. This

argument is misguided. As stated previously, the allegations in the complaint center upon

the allegedly false affidavit submitted with the application of default. These allegations do

not implicate and are not affected by the issues addressed in the state court proceeding. In

this case Stolicker alleges a separate and discrete claim of a violation of federal law that is

not a collateral attack on the state judgment. Her liability for the debt does not affect whether

the Muller law firm’s collection practices violated the FDCPA and MCPA.

       Viewing the allegations of the complaint in the light most favorable to Stolicker, it is

clear that she has alleged facts that would entitle her to relief under the FDCPA.

Accordingly, the Muller law firm’s motion to dismiss for failure to state a claim is denied.

Pfennig v. Household Credit Servs., Inc., 295 F.3d 522, 525-26 (6th Cir. 2002); see also

Conley v. Gibson, 355 U.S. 41, 45-46 (1957) ("[A] complaint should not be dismissed for

failure to state a claim unless it appears beyond doubt that the plaintiff can prove no set of

facts in support of his claim which would entitle him to relief.").

       Moreover, the Court has subject matter jurisdiction over the FDCPA claim under 15

U.S.C. § 1692k(d), 28 U.S.C. 1337. In addition, the Court will assert supplemental

jurisdiction over Stolicker’s state law claims under 28 U.S.C. § 1367. Accordingly, the Court

will deny the Muller law firm’s motion to dismiss for lack of subject matter jurisdiction.



                                               5
Case 1:04-cv-00733-RHB         ECF No. 25, PageID.340         Filed 04/22/05    Page 6 of 6




        The Court has taken Muller’s motion for summary judgment under advisement and

requests that Stolicker file a cross-motion for summary judgment within thirty days from the

date of this order in order to develop the record to determine if there are any genuine issues

of fact or law that remain outstanding.




Date:      April 22, 2005                  /s/ Robert Holmes Bell
                                           ROBERT HOLM ES BELL
                                           CHIEF UNITED STATES DISTRICT JUDGE




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